                  Case 2:14-cv-00161-AB-AS Document 77 Filed 06/17/15 Page 1 of 4 Page ID #:1902




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                             INFORMATION SERVICES LLC
                     16
                     17                         UNITED STATES DISTRICT COURT
                     18                        CENTRAL DISTRICT OF CALIFORNIA

                     19      HAYKUHI AVETISYAN                     ) Case No.: 2:14-cv-00161-AB-AS
                     20                                            )
                                  Plaintiff,                       )
                     21
                                                                   ) NOTICE OF SETTLEMENT
                     22           vs.                              )
                     23
                                                                   )
                             EQUIFAX INFORMATION                   )
                     24      SERVICES LLC                          )
                     25                                            )
                                  Defendant.                       )
                     26                                            )
                     27
                                  Plaintiff Haykuhi Avetisyan hereby notifies the Court that she and Defendant
                     28


    NOKES & QUINN
   450 Ocean Avenue
Laguna Beach, CA 92651
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     (949) 376-3055
                                                      NOTICE OF SETTLEMENT
                  Case 2:14-cv-00161-AB-AS Document 77 Filed 06/17/15 Page 2 of 4 Page ID #:1903




                         1   Equifax Information Services LLC have settled all claims between them in this
                         2   matter and are in the process of completing the final closing documents and filing
                         3   dismissal papers. The parties request that the Court retain jurisdiction for any matters
                         4   related to completing or enforcing the settlement. The parties expect the settlement
                         5   process to take up to 30 days from this Notice.
                         6
                             Dated: June 17, 2015                    KAASS LAW
                         7
                         8                                           /s/ Vahag Matevosian (with permission)
                                                                     VAHAG MATEVOSIAN
                         9
                                                                     ARMEN KIRAMIJYAN
                     10                                              Attorneys for Defendant
                     11
                                                                     EQUIFAX INFORMATION
                                                                     SERVICES LLC
                     12
                     13
                             Dated: June 17, 2015                    NOKES & QUINN
                     14
                     15                                              /s/ Thomas P. Quinn, Jr.
                                                                     THOMAS P. QUINN, JR.
                     16
                                                                     Attorneys for Defendant
                     17                                              EQUIFAX INFORMATION
                     18                                              SERVICES LLC
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                         1                          CERTIFICATE OF SERVICE
                         2               Haykuhi Avetisyan v. Equifax Information Services LLC
                                                    Case No: 2:14-cv-00161-AB-AS
                         3
                                   I, the undersigned, certify and declare that I am over the age of 18 years,
                         4
                             employed in the County of Orange, State of California, and not a party to the above-
                         5
                             entitled cause.
                         6
                                   On June 17, 2015, I served a true copy of:
                         7
                                                        NOTICE OF SETTLEMENT
                         8
                                   []     By personally delivering it to the persons(s) indicated below in the
                         9
                             manner as provided in FRCivP5(B);
                     10
                                   []     By depositing it in the United States Mail in a sealed envelope with the
                     11
                             postage thereon fully prepaid to the following;
                     12
                                   [X]    By ECF: On this date, I electronically filed the following document(s)
                     13
                             with the Clerk of the Court using the CM/ECF system, which sent electronic
                     14
                             notification of such filing to all other parties appearing on the docket sheet;
                     15
                                   I hereby certify that I am employed in the office of a member of the Bar of
                     16
                             this Court at whose direction the service was made.
                     17
                                   I hereby certify under the penalty of perjury under the laws of the State of
                     18
                             California that the foregoing is true and correct.
                     19
                     20                                              /s/ Jennifer J. Maston
                                                                     Jennifer J. Maston
                     21
                             Place of Mailing: Laguna Beach, California.
                     22
                             Executed on June 17, 2015, at Laguna Beach, California.
                     23
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                                                         NOTICE OF SETTLEMENT
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                             Haykuhi Avetisyan
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